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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *

 In the Matter of the Petition of GRACE          *          Civil No. JKB-24-0941
 OCEAN PRIVATE LIMITED, et al., for
 Exoneration from or Limitation of               *          IN ADMIRALTY
 Liability
                                                 *

                             *       *      *        *      *       *

                                            ORDER

       For the reasons stated in the State of Maryland’s Motion for a Letter of Request (“Motion”)

(ECF No. 483), the Motion is GRANTED. The Court has signed the proposed Letter of Request

and a copy will be filed on CM/ECF. The Court modified the second page of the Letter of Request

to reflect that the undersigned is a United States Magistrate Judge with chambers in Greenbelt,

Maryland. The movants are responsible for ensuring that the Letter of Request is properly

transmitted to the Ministry of Justice of the Kingdom of Denmark.


February 27, 2025                                           /s/
Date                                                 Timothy J. Sullivan
                                                     Chief United States Magistrate Judge
